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                                                       U.S. Department of Justice
                                                       United States Attorney
                                                       District of Maryland

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                                                       August 31, 2022

Hon. George L. Russell, III
United States District Court
District of Maryland
101 W. Lombard Street
Baltimore, Maryland 21201

           Re:        United States v. Snyder, Case No. 1:20-cr-00337-GLR
                      Status Report

Dear Judge Russell,

       Pursuant to the Court’s Order, ECF No. 91, I am writing on behalf of the parties to provide
an update on the status of the appellate proceeding related to the appeal of SAG-21-556. The
appellants filed their opening brief on July 29, 2022, the Government filed its response brief on
August 29, 2022, and any reply brief is due within 21 days of service of the response brief.


                                                       Very truly yours,

                                                       Erek L. Barron
                                                       United States Attorney

                                                       ____________________________________
                                                       Matthew P. Phelps
                                                       Assistant United States Attorney
